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                                                                      Posts       Posts & replies
                      Chairman of the Traditionalist Worker Party,
                    husband, father of two, and National Socialist
                   "We shall create a spiritual atmosphere, a moral   0 Matthew Heimbach reposted
                     atmosphere, in which the heroic man may be
                    born and on which he can thrive. This hero will   &        Microchip @Microchip PRO
                    lead our people on the road of its greatness_"-   •�O      2 months
                                 Cornehu Codreanu
                                                                      did QAnon predict all of this?
                               tj Since August 2017

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                                                                      0 Matthew Heimbach reposted

                                                                               Christopher Cantwell @Cantwell PRO
                                                                        O      2 months
